      Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 1 of 15




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                          :
IN RE: PHILIPS RECALLED CPAP,             :   Master Docket: No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL              :
VENTILATOR PRODUCTS                       :   MDL No. 3014
LITIGATION                                :
                                          :
This Document Relates to:                 :
                                          :
Consolidated Second Amended Class         :
Action Complaint for Medical Monitoring   :
(ECF No. 815)                             :
                                          :



  PHILIPS RS NORTH AMERICA LLC’S RESPONSES TO OBJECTIONS TO THE
REPORT AND RECOMMENDATION ON THE MOTION TO DISMISS THE SECOND
    AMENDED CLASS ACTION COMPLAINT FOR MEDICAL MONITORING

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       Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 2 of 15


                                              TABLE OF CONTENTS

                                                                                                                               Page


I.     INTRODUCTION ............................................................................................................. 1
II.    ARGUMENT ..................................................................................................................... 2
       A.        THE DISPUTED JURISDICTIONS REQUIRE ALLEGATIONS OF
                 PRESENT PHYSICAL INJURY. ......................................................................... 2
       B.        PLAINTIFFS FAIL TO ALLEGE PRESENT PHYSICAL INJURY. ................. 5
       C.        THE R&R CORRECTLY ANALYZED STATE LAW. ...................................... 8
III.   CONCLUSION .................................................................................................................. 9




                                                                -i-
          Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 3 of 15




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................5

Baker v. Croda Inc.,
   No. 21-3360, 2022 WL 19010312 (3d Cir. Oct. 21, 2022)........................................................4

Baker v. Croda Inc.,
   No. 393, 2022, 2023 WL 5517797 (Del. Aug. 24, 2023) ......................................................3, 4

Bernier v. Raymark Indus., Inc.,
   516 A.2d 534 (Me. 1986) ...........................................................................................................7

Berry v. City of Chic.,
   181 N.E.3d 679 (Ill. 2020) .........................................................................................................3

Brown v. Saint-Gobain Performance Plastics Corp.,
   300 A.3d 949 (N.H. 2023) .........................................................................................................3

City of Phila. v. Lead Indus. Ass’n, Inc.,
    994 F.2d 112 (3d Cir. 1993)............................................................................................. passim

Donovan v. Philip Morris USA, Inc.,
   914 N.E.2d 891 (Mass. 2009) ................................................................................................6, 7

Dougan v. Sikorsky Aircraft Corp.,
   251 A.3d 583 (Conn. 2020) .......................................................................................................7

Dumontier v. Schlumberger Tech. Corp.,
  543 F.3d 567 (9th Cir. 2008) .....................................................................................................6

Erie Railroad Co. v. Tompkins,
    304 U.S. 64 (1938) .............................................................................................................2, 3, 4

Henry v. Dow Chem. Co.,
   701 N.W.2d 684 (Mich. 2005) ...................................................................................................3

Lowe v. Philip Morris USA, Inc.,
   183 P.3d 181 (Or. 2008) ............................................................................................................3

Metro-N. Commuter R. Co. v. Buckley,
   521 U.S. 424 (1997) ...................................................................................................................3



                                                                    ii
          Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 4 of 15




Parker v. Wellman,
   230 F. App’x 878 (11th Cir. 2007) ............................................................................................6

Pounders v. Enserch E & C, Inc.,
   306 P.3d 9 (Ariz. 2013)..............................................................................................................7

Rainer v. Union Carbide Corp.,
   402 F.3d 608 (6th Cir. 2005) .....................................................................................................6

In re Rezulin Prod. Liab. Litig.,
    361 F. Supp. 2d 268 (S.D.N.Y. 2005)........................................................................................6

Sondag v. Pneumo Abex Corp.,
   55 N.E.3d 1259 (Ill. App. Ct. 2016) ......................................................................................6, 8

Tatel v. Mt. Lebanon Sch. Dist.,
   637 F. Supp. 3d 295 (W.D. Pa. 2022) ........................................................................................6

Travelers Indem. Co. v. Dammann & Co.,
   594 F.3d 238 (3d Cir. 2010)...............................................................................................2, 4, 8

In re Valsartan, Losartan, & Irbesartan Prod. Liab. Litig.,
    No. 19-2875, 2023 WL 1818922 (D.N.J. Feb. 8, 2023) ........................................................4, 5

Walston v. Boeing Co.,
   334 P.3d 519 (Wash. 2014)........................................................................................................7

Wood v. Wyeth-Ayerst Lab’ys, Div. of Am. Home Prod.,
  82 S.W.3d 849 (Ky. 2002) .........................................................................................................3

Other Authorities

Restatement (Second) of Torts § 7 cmt. B (1965) ............................................................................8

Restatement (Second) of Torts § 15 cmt. A (1965)..........................................................................8




                                                                   iii
       Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 5 of 15




       Philips RS North America LLC (“Respironics”) respectfully submits these responses to

Plaintiffs’ Objections (“Plaintiffs’ Objections” or “Pls. Objs.”) (ECF No. 2314) to the Report and

Recommendation (the “R&R”) (ECF No. 2273) on Respironics’ motion to dismiss Plaintiffs’

medical monitoring complaint (“MM Master Complaint”) (ECF No. 815). Plaintiffs’ Objections

should be overruled, and this Court should adopt the R&R except as to those points raised in

Respironics’ Objections (ECF No. 2316).

              RESPIRONICS’ RESPONSES TO PLAINTIFFS’ OBJECTIONS

I.     INTRODUCTION

       Plaintiffs object to the recommended dismissal of their claims asserted under the laws of

28 jurisdictions (the “Disputed Jurisdictions”), in which the states’ highest courts have not adopted

an exception to the traditional tort law requirement to allege a present physical injury as a

prerequisite to any relief, including medical monitoring.1 The R&R found that Third Circuit

precedent requires the Court to predict that the highest courts of the Disputed Jurisdictions would

adhere to the present physical injury requirement because federal district courts may not expand

tort liability under state law. The R&R further found that Plaintiffs fail to allege present physical

injury and seek only damages associated with the risk of future injury. The R&R accordingly

concluded that Plaintiffs fail to state claims for medical monitoring relief under the laws of the

Disputed Jurisdictions, requiring dismissal of Plaintiffs’ claims in those jurisdictions.

       Plaintiffs object that: (1) the R&R incorrectly concluded that the Disputed Jurisdictions

require allegations of a present physical injury, and (2) even if there is such a requirement,


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  The R&R recommends dismissal under the laws of 30 jurisdictions: Arizona, Arkansas,
Colorado, Connecticut, Delaware, Georgia, Hawaii, Idaho, Illinois, Indiana, Iowa, Kansas, Maine,
Minnesota, Montana, Nebraska, New Hampshire, New Jersey, New Mexico, New York, North
Carolina, Ohio, Oklahoma, Oregon, Puerto Rico, Rhode Island, South Carolina, Texas, Virginia,
and Washington. Plaintiffs do not object to the dismissal of all claims under the laws of North
Carolina and New Hampshire. Pls. Objs. at 2 n.2.
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       Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 6 of 15




Plaintiffs’ conclusory assertion of “sub-cellular change” satisfies it. The R&R’s recommendation

is grounded in controlling Third Circuit precedent and the laws of the Disputed Jurisdictions, and

Plaintiffs’ Objections should be overruled.

II.    ARGUMENT

       A.      The Disputed Jurisdictions Require Allegations of Present Physical Injury.

       Plaintiffs agree that under Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938), state

substantive law governs whether they must plead a present physical injury, and where there is

ambiguity in state law, the Court’s task is to predict how the state’s highest court would decide the

issue. Pls. Objs. at 1, 7. It is undisputed that neither the intermediate appellate nor the highest

courts of the Disputed Jurisdictions have carved an exception to the present physical injury

requirement for claims seeking medical monitoring. Nevertheless, Plaintiffs object to the R&R

because it rejected their invitation to expand liability under state law by predicting that the highest

courts of the Disputed Jurisdictions would create such an exception. Id. at 7-8.

       The R&R correctly recognized that Third Circuit precedent precludes Plaintiffs’ argument.

See R&R at 6-7; Travelers Indem. Co. v. Dammann & Co., 594 F.3d 238, 244 (3d Cir. 2010)

(predicting the New Jersey Supreme Court would apply the economic loss doctrine to a product

liability crossclaim as that is “the interpretation that restricts liability, rather than expands it”).

District courts may not engraft onto state law “exceptions or modifications which may commend

themselves to the federal court” but have not been adopted by state appellate courts. R&R at 6

(quoting Day & Zimmermann, Inc. v. Challoner, 423 U.S. 3, 4 (1975) (per curiam)). “Federalism

concerns require that [district courts] permit state courts to decide whether and to what extent they

will expand state common law.” Id. (quoting City of Phila. v. Lead Indus. Ass’n, Inc., 994 F.2d

112, 123 (3d Cir. 1993)). Accordingly, district courts should “opt for the interpretation [of state

law] that restricts liability” in the absence of “clear authority” in state law favoring an exception

                                                  2
       Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 7 of 15




that “expands it.” Travelers, 594 F.3d at 250, 253; City of Phila., 994 F.2d at 115 (“[W]e may not

significantly expand state law without a clear indication that the Pennsylvania Supreme Court

would do the same.”). “Clear authority” for an expansion of state law liability may not be found

in state trial court decisions, federal district courts’ Erie predictions that “jum[p] ahead of the

current state of [the relevant state’s] law,” a “split of authority among the highest state courts,” or

“policy arguments.” City of Phila., 994 F.2d at 125-26, nn.12, 13 (refusing to predict that

Pennsylvania would expand liability by adopting market share liability in the absence of a “clear

indication” that the Pennsylvania Supreme Court would do so).

       The obligation to allege a present physical injury is a “traditional” prerequisite to stating a

viable tort claim, irrespective of the type of relief sought. R&R at 4, n.3.2 The R&R acknowledges

this and that some states have created an exception to the rule or created an independent medical

monitoring cause of action, and that there are policy reasons why a state may decide to abandon

the traditional rule. But the R&R correctly concludes that the Disputed Jurisdictions all adhere to

this traditional rule, and that there is no authority from which the Court could predict any of these

jurisdictions would carve an exception for medical monitoring relief. R&R at 6-9. Third Circuit



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  Numerous courts, including the U.S. Supreme Court, have recognized that the traditional rule
requires a plaintiff to allege a present physical injury to state a cause of action in tort. See Metro-
N. Commuter R. Co. v. Buckley, 521 U.S. 424, 441 (1997) (recognizing that present physical injury
is a traditional tort requirement and only a few states had carved an exception to this rule for claims
seeking medical monitoring); Baker v. Croda Inc., No. 393, 2022, 2023 WL 5517797, at *3 (Del.
Aug. 24, 2023) (“[C]laims in tort require an actual or imminent injury. To hold otherwise would
constitute a significant shift in our tort jurisprudence.”); Brown v. Saint-Gobain Performance
Plastics Corp., 300 A.3d 949, 952 (N.H. 2023) (refusing to abandon the traditional “physical injury
rule”); Berry v. City of Chic., 181 N.E.3d 679, 688-89 (Ill. 2020) (“the traditional understanding
of tort law” requires manifested “harm” that is not satisfied by the purported need for “diagnostic
medical testing” following exposure); Henry v. Dow Chem. Co., 701 N.W.2d 684, 689 (Mich.
2005) (rejecting call for medical monitoring exception “to the rule that a present physical injury is
required”); Lowe v. Philip Morris USA, Inc., 183 P.3d 181, 184 (Or. 2008) (affirming present
physical injury rule); Wood v. Wyeth-Ayerst Lab’ys, Div. of Am. Home Prod., 82 S.W.3d 849, 852
(Ky. 2002) (“[A] cause of action in tort requires a present physical injury[.]”).
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       Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 8 of 15




precedent therefore prohibits the Court from predicting they would, because to do so

impermissibly would expand liability under state law, as explained in the R&R. R&R at 4, 6-9.

       Plaintiffs’ objection ignores Third Circuit precedent. Relying solely on an unpublished

class certification decision in In re Valsartan, Losartan, & Irbesartan Prod. Liab. Litig., No. 19-

2875 (RBK/SAK), 2023 WL 1818922 (D.N.J. Feb. 8, 2023), Plaintiffs urge the Court instead to

apply a “flexible policy” and make an Erie prediction that abandons the present physical injury

requirement in “states that lack a definitive state court ruling” because the “right to plead medical

monitoring claims” “involves a decision on substantive, not procedural, state law.” Pls. Objs. at

7-8 (quoting Valsartan, 2023 WL 1818922 at *26 n.31, 68 (App.)). The Court should reject

Plaintiffs’ objection for several reasons.

       First, Plaintiffs’ obligation to plead a present physical injury is a substantive state law issue

governed by Erie, not a procedural issue controlled by the Federal Rules of Civil Procedure. See

Baker v. Croda Inc., No. 21-3360, 2022 WL 19010312, at *3 (3d Cir. Oct. 21, 2022) (holding the

need to allege a present physical injury is governed by state law and certifying question to the

Delaware Supreme Court). Plaintiffs admit this in their objections. Pls. Objs. at 7.

       Second, the present physical injury requirement exists to curb “‘unlimited and

unpredictable liability.’” Baker, 2023 WL 5517797, at *2 (quoting Buckley, 521 U.S. at 442). The

Court may not predict that the highest courts of the Disputed Jurisdictions would abandon the

requirement absent a clear indication from those courts themselves, because to do so would expand

medical monitoring liability under state law. Travelers, 594 F.3d at 253; City of Phila., 994 F.2d

at 115. Plaintiffs fail even to mention Travelers in their objections and fail to explain why the

holdings of Travelers and City of Philadelphia are not controlling here.

       Third, Plaintiffs’ reliance on a district court’s decision in Valsartan is misplaced—the



                                                  4
       Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 9 of 15




decision is not controlling and cannot overcome the result required by Third Circuit precedent.

Even if Valsartan were persuasive authority, it is inapposite because there the district court did not

substantively decide whether any of the Disputed Jurisdictions requires allegations of present

physical injury. Instead, the Valsartan decision resolved only the plaintiffs’ motion for class

certification—not a motion to dismiss—and addressed only whether variations in state law created

individual inquiries that precluded use of class procedures.

       The Valsartan district court found that deciding the procedural class certification question

did not require it to resolve any questions of state substantive law, including whether any given

state adheres to the traditional physical injury requirement. Instead, the Valsartan court reasoned

it needed only to determine whether the state substantive law issues were common among state

sub-class members and could be resolved on a class-wide basis. Valsartan, 2023 WL 1818922 at

*33, 36; see also id. at *68 (explaining in notes discussing Alaska that “class certification is NOT

a liability ISSUE”) (emphasis in original). Valsartan therefore does not speak to the issue

presented by Defendants’ motion and offers Plaintiffs no assistance.

       B.      Plaintiffs Fail to Allege Present Physical Injury.

       Plaintiffs further object that even if the R&R correctly found that the Disputed Jurisdictions

require present physical injury, their conclusory allegations that using the recalled devices caused

them to experience “subcellular or other physiological changes” satisfies that requirement. Pls.

Objs. at 2. Plaintiffs’ contention is incorrect and should be rejected.

       First, the R&R correctly disregarded Plaintiffs’ allegations of “physiological change”

because they are conclusory statements unsupported by well-pled factual allegations. See Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (holding Rule 8 requires courts to disregard “threadbare

recitals . . . supported by mere conclusory statements”). The MM Master Complaint alleges no

facts describing this “change,” what Plaintiffs mean by “subcellular,” whether or how any such
                                                  5
      Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 10 of 15




“change” has caused any Plaintiff present physical impairment, how the alleged “change” indicates

increased risk of any particular disease, the extent/severity of this increased risk, or why the risk

necessitates medical monitoring. In the absence of any well-pled factual allegations, the R&R

correctly disregards Plaintiffs’ “subcellular or other physiological change” formulation. See Tatel

v. Mt. Lebanon Sch. Dist., 637 F. Supp. 3d 295, 308 (W.D. Pa. 2022), clarified on denial of

reconsideration, No. CV 22-837, 2023 WL 3740822 (W.D. Pa. May 31, 2023) (Conti, J.).

       Second, Plaintiffs posit that asymptomatic “physiological change” is generally recognized

as constituting a present physical injury, which Plaintiffs claim is supported by Donovan v. Philip

Morris USA, Inc., 914 N.E.2d 891, 901 (Mass. 2009) and the definition of “Bodily Harm” in the

Restatement (Second) of Torts § 15. Pls. Objs. at 6-7. Plaintiffs are wrong.

       “All life is change, but all change is not injurious.” Dumontier v. Schlumberger Tech.

Corp., 543 F.3d 567, 570 (9th Cir. 2008). Physical injury means a practical, functional impairment

of the body’s functions. Sondag v. Pneumo Abex Corp., 55 N.E.3d 1259, 1264-65 (Ill. App. Ct.

2016). Plaintiffs’ conclusory allegation of mere “subcellular or other physiological change”

alleges no such present impairment. See Rainer v. Union Carbide Corp., 402 F.3d 608, 621 (6th

Cir. 2005) (“Accepting the plaintiffs’ claim would [] throw open the possibility of litigation by

any person experiencing even the most benign subcellular damage.”) (applying Kentucky law).

That is by design—the medical monitoring relief Plaintiffs seek is premised on costs allegedly

necessitated by an increased risk of future harm. Otherwise, Plaintiffs would have simply filed

personal injury claims. Increased risk of contracting a future illness or injury is not a present




                                                 6
       Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 11 of 15




physical injury, a self-evident proposition that numerous courts have recognized.3

       Plaintiffs’ theory that medical monitoring claims may be premised on “subcellular or other

physiological changes” derives from a single decision of the Massachusetts Supreme Judicial

Court, Donovan, 914 N.E.2d at 901, which has not been adopted by the highest court of any other

state. Not even this solitary outlier decision supports Plaintiffs’ assertion that they have adequately

alleged present physical injury in the Disputed Jurisdictions. City of Phila., 994 F.2d at 125-26,

n.12. In Donovan, the plaintiffs alleged “objectively observable and identifiable damage to the

tissues and structures of their lungs resulting in a substantially increased risk of cancer” requiring

“medical monitoring.” 914 N.E.2d at 898. The court held that this observable damage and

“attendant substantial increase in risk of cancer” may “establish the elements of injury and

damages,” but only for a claim for future medical monitoring expenses, not “the full range of tort

damages.” Id. at 901. The court expressly acknowledged that it was not requiring “manifested”

“physical harm.” Id. at 900-01. Instead, Donovan created a “stand-alone medical monitoring

cause of action for . . . subclinical injuries,” which has not been followed by numerous courts

because the present physical injury requirement demands manifest physical harm. See Dougan v.

Sikorsky Aircraft Corp., 251 A.3d 583, 592, 593 n.16 (Conn. 2020) (collecting authorities).

       Plaintiffs’ invocation of Restatement (Second) of Torts § 15 also is misplaced. Section 15




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  See, e.g., Parker v. Wellman, 230 F. App’x 878, 882 (11th Cir. 2007) (rejecting assertion that
cellular damage constitutes “a current physical injury under Georgia law”); In re Rezulin Prod.
Liab. Litig., 361 F. Supp. 2d 268, 273-78 (S.D.N.Y. 2005) (allegations of subcellular mitochondrial
damage insufficient to establish present physical injury under Louisiana and Texas law); Walston
v. Boeing Co., 334 P.3d 519, 522 (Wash. 2014) (“[A]symptomatic cellular-level injury . . . is not
itself a compensable injury”) (citations omitted); Pounders v. Enserch E & C, Inc., 306 P.3d 9, 14
(Ariz. 2013) (until “the disease is discoverable . . . a legally compensable injury does not exist”
“based on subcellular injuries occurring at exposure”); Bernier v. Raymark Indus., Inc., 516 A.2d
534, 543 (Me. 1986) (“[M]icroscopic injury . . . is ‘insufficient to constitute the actual loss or
damage . . . required . . . under generally applicable principles of tort law.’”) (citations omitted).
                                                  7
      Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 12 of 15




defines “Bodily Harm” as a “physical impairment,” and then states that an alteration in the

structure or function of any part of the body—even if it “causes no other harm”—is an impairment.

Restatement (Second) of Torts § 15 cmt. A (1965). Section 15, however, appears in Chapter 2,

which addresses the intentional tort of battery, which requires only an offensive “touching” to

establish liability even if the “touching” does no damage. Sondag, 55 N.E.3d at 1265. Negligence

and strict liability claims are different; “physical harm” is a required element. Id. at 1263, 1265.

“Harm” means “loss or detriment to a person, and not a mere change or alteration in some physical

person.”    Restatement (Second) of Torts § 7 cmt. B (1965); Sondag, 55 N.E.3d at 1265.

Asymptomatic physiological change that does not cause “physically impairing loss or detriment

to” the plaintiff does not satisfy the requirement to allege physical harm. Sondag, 55 N.E.3d at

1264 (“[W]e do not see how these conditions [asymptomatic pleural plaques and interstitial

fibrosis] have affected [Sondag] in any practical, functional way.”).

       The R&R, therefore, correctly reduces Plaintiffs’ argument to an assertion “that the

economic loss associated with diagnostic testing necessitated by another’s tortious conduct is a

sufficient injury to support a medical monitoring claim.” R&R at 5. And it correctly concludes

that Third Circuit precedent, including Travelers and City of Philadelphia, does not allow the

Court to accept Plaintiffs’ “economic loss” argument because it would significantly expand tort

liability in the Disputed Jurisdictions without sufficient state law support. R&R at 6-9.

       C.      The R&R Correctly Analyzed State Law.

       Finally, Plaintiffs argue that the R&R incorrectly interpreted the law of each of the

Disputed Jurisdictions and incorporate over eighty pages of case tables that Plaintiffs had

originally submitted with their briefing before the Special Master. Pls. Objs. at 9-15, Exs. A-C

(ECF Nos. 2314-1–3). For ease of reference, Respironics summarizes in Appendix A hereto the

relevant excerpts of case tables and discussion of cases included in its briefing before the Special
                                                 8
       Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 13 of 15




Master.

       Plaintiffs identify no error in the R&R’s analysis of the various state authorities. For all

the reasons explained above, the lower state court and federal district court opinions Plaintiffs

mistakenly rely upon cannot alter the result required by Third Circuit precedent, and the R&R

correctly concluded that Plaintiffs have identified no authority that would support an expansion of

state tort law liability for claims seeking medical monitoring. See City of Phila., 994 F.2d at 115.

III.   CONCLUSION

       For the foregoing reasons, those stated in Respironics’ Motion (ECF No. 1352) and Reply

(ECF No. 1828), at oral argument, and in Respironics’ limited objections to the R&R, Respironics

respectfully requests that this Court overrule Plaintiffs’ Objections and adopt the recommendation

to dismiss the claims asserted under the laws of the Disputed Jurisdictions.




                                                 9
    Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 14 of 15




Dated: November 30, 2023             Respectfully Submitted,

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                                     America LLC
      Case 2:21-mc-01230-JFC Document 2371 Filed 11/30/23 Page 15 of 15




                              CERTIFICATE OF SERVICE

       I hereby certify that on November 30, 2023, the foregoing document was electronically

filed with the Clerk of the Court and served upon counsel of record through the Court’s ECF

system.


                                                 /s/ John P. Lavelle, Jr.
                                                 John P. Lavelle, Jr.
